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                                                  Brooklyn Defender Services    Tel (718) 254-0700
                                                  177 Livingston St., 7th Fl.   Fax (718) 254-0897
                                                  Brooklyn, NY 11201            info@bds.org

                                                  Visitor Center
                                                  156 Pierrepont St.
                                                  Brooklyn, NY 11201


                                                                                          October 11, 2023

U.S. Immigration and Customs Enforcement
Freedom Of Information Act Office
500 12th Street, SW, Stop 5009
Washington, D.C. 20536-5009

VIA ICE ONLINE FOIA PORTAL

Dear FOIA Officer,

       This is a request for records pursuant to the Freedom of Information Act (FOIA), 5 U.S.C. §
522(a)(3) on behalf of                                     In accordance with 5 U.S.C. § 552, we
expect a response to this request within 20 working days, unless otherwise permitted by statute.

       In support of this FOIA request, I have attached a G-28 and a signed Form G-639. Exs. A-B.

Background on Records Request

        On or about May 30, 2023, Immigration and Customs Enforcement (“ICE”) unlawfully
disclosed                personally identifiable information (“PII”), and information related to his
removal proceedings (where he applied for asylum withholding of removal and protection under the
Convention Against Torture), to the Nassau County District Attorney’s Office. Exh. C (ICE letter
admitting unlawful disclosure). Specifically, ICE disclosed an unredacted copy of the Immigration
Judge’s written decision, dated February 6, 2023, contrary to ICE’s confidentiality obligations
under 8 C.F.R. § 208.6 (discussing asylum and protection-related confidentiality). Id. Only after
              counsel learned of ICE’s unlawful sharing of the decision that should have been
confidential, and alerted ICE to the violation of federal regulation, did ICE decide to report the
violation within their Office of Professional Responsibility. Id.

       The impermissible choice to share the 22-page (single-spaced) decision addressing
fear-based claims is a serious violation of his rights and places him and his family members at risk of
increased harm in India. Although ICE requested that the Nassau County District Attorney’s Office
destroy the protected documents, this request is insufficient to remedy the violation. See Exh. C. The
Nassau County District Attorney’s Office has already filed the immigration judge’s decision with the
Nassau County Criminal Court, as part of a public court file, in further violation of            rights
under federal regulation. See Exs. C, F. Any member of the public can request a copy of a decision in
what was supposed to be confidential. Exh. F (paralegal affidavit documenting that any member of
the public can request a copy of the criminal court file that now contains the decision regarding Mr.
        fear-based claims).




                                                                                                     001
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        The disclosure by ICE in             case is also particularly concerning given that the agency
was recently forced to admit to also disclosing PII of around 6,000 noncitizens on its own website.
See ICE, Unintentional Disclosures of Personally Identifiable Information on November 28 and
December 7, 2022 (June 20, 2023), available at http://www.ice.gov/pii; see also Hamed Aleziz. “ICE
releases thousands of migrants affected by data breach,” Los Angeles Times (Jan. 19, 2023), available
at           https://www.latimes.com/world-nation/story/2023-01-19/ice-leak-personal-information-
immigrants-asylum.

        Further,           remains in ICE custody at Buffalo Federal Detention Center in Batavia,
New York and his removal proceedings are currently pending before the Board of Immigration
Appeals (“BIA”). Exh. E. His appeal has been fully briefed since July 28, 2023. Through counsel,
           and ICE have worked to recently file a joint motion with the BIA, asking for proceedings
to be remanded due to the unlawful disclosure under 8 C.F.R. § 208.6. Exh. D (copy of Joint Motion
to Remand).

Specific Records Requested
       Given these facts, we asked that ICE produce all physical and electronic records 1 pertaining to
          , including but not limited to all non-A File records in ICE’s possession regarding or related
to:

    ● Any and all notations or documentation within DHS/ICE systems or in possession of DHS/
      ICE, regarding disclosures under 5 USC § 552a(b)(7) to third parties regarding
      I-589 application, decisions by the Immigration Judge, and BIA appeals. Dates for these
      communications may range from April 2022 – present;

    ● Any and all email communications (and attachments) between DHS/ICE and third parties
      regarding           I-589 application, decisions by the Immigration Judge, and BIA appeals.
      Dates for these communications may range from 2021-2023;

    ● Any and all email communications (and attachments) between DHS/ICE and the Nassau
      County District Attorney's Office regarding                 I-589 application, testimony and
      filings (including briefing and evidence) pertaining to this application, Immigration Judge
      decisions, appeals with Board of Immigration Appeals. Dates for these communications may
      range from 2021-2023;




1 The term “records” in this request includes, but is not limited to: communications, correspondence, directives,

documents, data, videotapes, audiotapes, e-mails, faxes, files, guidance, guidelines, standards, evaluations, instructions,
analyses, memoranda, agreements, notes, orders, policies, procedures, protocols, reports, rules, manuals, technical
specifications, training materials, and studies, including records kept in record form or electronic formats on computers
and/or other electronic storage devices, electronic communications and/or videotapes, as well as any reproductions
therefor that differ in any way from any other reproduction, such as copies containing marginal notations.




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● Any and all direct email communications (and attachments) regarding               or his
  relatives, between DHS and members of the Indian government or Indian government
  agencies or, indirect email communications (and attachments) between DHS and members
  of the Indian government or Indian government agencies through a third party (for
  instance, the Department of State). Dates for these communications may range from 2021-
  2023;

● Communications between ICE employees, between ICE and employees at the Buffalo
  Federal Detention Center in Batavia, New York, and between ICE and other third parties
  relating to:

           The purposeful or inadvertent public sharing of                 PII (including but not
           limited to information or documents related to his fear-based claims) on or about May
           30, 2023 and/or on any other date from January 2023 – present;

● Communications between ICE employees, between ICE and employees at the Orange
  County Jail, in Goshen, New York, and between ICE and other third parties relating to:

       ○ The purposeful or inadvertent public sharing of                 PII (including but not
         limited to information or documents related to his fear-based claims) on or about May
         30, 2023 and/or on any other date from September 2021 – present;

● Any investigation by ICE or any other component under the Department of Homeland
  Security (“DHS”) into the purposeful or inadvertent public release of                    PII
  (including but not limited to information or documents related to his fear-based claims),
  whether purposefully or inadvertently, on or about May 30, 2023 and/or on any other date;

● The number and identity of all third parties that accessed, downloaded, or in any manner
  were involved in the sharing            PII and information related to his fear-based claims,
  whether shared by ICE purposefully or inadvertently;

● The number and identity of individuals at the Nassau County District Attorney's Office to
  whom ICE sent a request to destroy, refrain from using or disclosing
  protected information. See Exh. C (letter from ICE to Nassau County)

● The number and identity of any other individuals/entities to whom ICE has sent “clawback
  letters” as described on the ICE website. See http://www.ice.gov/pii.

● Any non-exempt written drafts and/or final conclusions, legal or otherwise, by ICE as to:
     ○ How its data breach(es) occurred;
     ○ Whether and if so, how it compromised                    right to privacy and/or right to
        confidentiality pursuant to 8 C.F.R. § 208.6;




                                                                                                003
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            ○ Any duty, obligation and/or efforts by ICE to remedy its breach of                       right to
              privacy and/or right to confidentiality under 8 C.F.R. § 208.6.

       To the extent that              has not identified a specific record that ICE has in its possession
and that is responsive to               request, ICE must liberally construe this reasonably described
request as part of its obligation to produce all responsive records. See Truitt v. Department of State,
897 F.2d 540, 544-45 (D.C. Cir. 1990).

       Please note that we do not seek records in              A-File as we have previously filed a
separate request for those records with U.S Citizenship and Immigration Service (“USCIS”).

Request to Expedite

                     request meets the criteria for expedited treatment. See 5 U.S.C. § 552(a)(6)(E)(i);
6 C.F.R. § 5.5(e). A request qualifies for expedited treatment if it involves one of the following criteria:

        (i) Circumstances in which the lack of expedited processing could reasonably be expected to
        pose an imminent threat to the life or physical safety of an individual; (ii) An urgency to inform
        the public about an actual or alleged federal government activity, if made by a person who is
        primary engaged in disseminating information; (iii) The loss of substantial due process rights;
        or (iv) A matter of widespread and exceptional media interest in which there exist possible
        questions about the government’s integrity which affect public confidence. 6 C.F.R. §
        5.5(e)(1)(i)-(iv).

        Here,             can demonstrate that this request meets at least two of the criteria for expedited
processing: first, a lack of expedited processing under the facts of his case poses an “imminent threat”
to his life and physical safety, and second, absent expedited process,                   faces “the loss of
substantial due process rights.”

       As            has noted above, he is currently in removal proceedings and his case is presently
on appeal before the BIA. Exs. D-E. However, given the recent filing of the joint motion to remand
(as described above), it is likely that            case will be remanded to the Immigration Court,
where the parties will address the impact of the unlawful ICE disclosure on                   claim to
asylum (among other issues). See Exh. D. At that time,              intends to present a supplemental
claim for protection under asylum/withholding of removal under the INA/protection under the
Convention against Torture (“CAT”) given the unlawful ICE disclosure.

       Specifically,           fears persecution and torture in India by members of the government.
Members of the Indian government officials have already targeted many in                     family,
including his father and his brother. Details surrounding his claims were discussed in the 22-page
decision that ICE impermissibly shared, a decision that is now part of a public record in Nassau
County, New York.




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                    fears that individual and entities have an interest in and the ability to access the
decision in his case and he cannot properly articulate the factual basis for his claim related to and/or
arising out of the ICE violations of the regulation without knowing the full extent of the specific PII
and asylum-related information was disclosed and who it was disclosed to. Thus, ICE’s breach of Mr.
         PII and rights under the regulations and how it was accessed by other parties can constitute
evidence or dispositive information related to the risk of persecution/torture that              faces in
India, including the likelihood of his future harm, an element he must prove when his case is remanded
to the Immigration Court. Additionally,               lacks full access to the complete extent of factual
evidence in the government’s possession that is relevant in demonstrating the likelihood his
persecutors/torturers may have accessed (or could access) the PII and asylum-related information that
was shared. This information is essential to the full and fair adjudication of             claim.

        Finally, information regarding ICE’s breach of privacy and/or confidentiality in
case raises due process concerns and, as such, an obligation by the U.S. government has arisen to
provide all relevant information to him. See e.g. Anim v. Mukasey, 535 F.3d 243, 255-56 (4th Cir.
2008).             thus urges that ICE must release all records implicating his due process matters in
an expeditious matter.

Exemptions:

       If ICE concludes that statutory exemptions apply to any of the information requested, please
describe in detail the nature of the information withheld, the specific exemption or privilege upon
which the information is withheld, and whether the portions of withheld documents containing non-
exempt or non-privileged information have been provided. Moreover, even if ICE invokes exemptions
to records related to             , ICE must still provide “any reasonably segregable portion of a
record…after deletion of the portions which are exempt under this subsection.” 5 U.S.C. ¶ 552(b).
Nonetheless,            reserves the right to challenge any claimed exemptions as permitted under the
FOIA statute.

       Thank you for your attention to this request. Please do not hesitate to contact me or let me
know if you require anything further to respond to this request.

                                              Sincerely,


                                              Michelle Lee Doherty, Esq.
                                              Senior Attorney
                                              New York Immigrant Family Unity Project (NYIFUP)
                                              Brooklyn Defender Services
                                              M: (917) 685-9457
                                              Mdoherty@bds.org




                                                                                                      005
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Exhibit                                      Description                                          Page
   A.       Form G-28, Notice of Entry of Appearance as Attorney                                    7
   B.       Form G-639, Freedom of Information/Privacy Act Request                                 11
   C.       Letter from ICE, dated Sept. 18, 2023 (admitting to the violating the                  22
            regulations in             case by sharing the written decision in his fear-
            based proceedings)
   D.       Copy of Joint Motion to Remand, signed Oct. 10, 2023                                   24
   E.       BIA Appeal Receipt Notice                                                              27
   F.       Paralegal Affidavit, dated Sept. 26, 2023 (documenting that any member of              29
            the public can request a copy of the criminal court file that now contains the
            decision regarding              fear-based claims)




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        Exhibit A
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         Exhibit B
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         Exhibit C
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         Exhibit D
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                                                                           DETAINED


Wen-Ting Cheng                             Michelle Doherty, Esq.
Chief Counsel                              Sarika Arya, Esq.
Fayaz Habib                                Brooklyn Defender Services
Deputy Chief Counsel                       177 Livingston St., 7th Floor
Wendy Leifer                               Brooklyn, NY 11201
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U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security
26 Federal Plaza, Rm. 1130
New York, NY 10278




                      UNITED STATES DEPARTMENT OF JUSTICE
                    EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                         BOARD OF IMMIGRATION APPEALS
                                FALLS CHURCH, VA



In the Matter of:

                                           File No.:

In Removal Proceedings




                            JOINT MOTION TO REMAND




                                                                                024
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       The U.S. Department of Homeland Security (Department) and the respondent jointly move

the Board of Immigration Appeals (Board) to remand the respondent’s removal proceedings. This

motion is not subject to temporal or numerical limitations. 8 C.F.R. § 1003.2(c)(3)(iii).

       On or about May 30, 2023, Immigration and Customs Enforcement (ICE) disclosed the

respondent’s personally identifiable information, and information related to his removal

proceedings, to the Nassau County District Attorney’s Office. The disclosure provided the Nassau

County District Attorney’s Office with information regarding the respondent’s applications for

asylum and protection in the United States. Specifically, ICE disclosed an unredacted copy of the

Immigration Judge’s written decision, dated February 6, 2023, contrary to ICE’s confidentiality

obligations under 8 C.F.R. § 208.6 (discussing asylum and protection-related confidentiality).

Accordingly, the parties agree that remanding to the Immigration Judge is warranted to allow the

respondent to file a new or updated Application for Asylum, Withholding of Removal, and

Protection under the Convention against Torture (Form I-589), based solely or in part on the

disclosure.

       By agreeing to joint remand, the respondent does not relinquish his pending arguments

appealing the Immigration Judge’s decision dated February 6, 2023, and reserves the right to

appeal based on those issues at a future date if necessary.

       The Department does not adopt or endorse any facts or legal arguments set forth by the

respondent, aside from the fact that the disclosure took place, nor does it concede or stipulate to

the respondent’s eligibility for any forms of relief or protection. The Department reserves the right

to contest the eligibility and merits of the respondent’s applications and submissions before the

Immigration Judge.




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          Exhibit E
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          Exhibit F
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DECLARATION OF PARALEGAL, BIANNY MAGARIN

I, Bianny Magarin, swear under penalty of perjury, the following:

   1. My name is Bianny Magarin. I am employed as a paralegal for Brooklyn Defender
        Services at 177 Livingston Street, 7th Floor, Brooklyn, NY 11201.
   2. I was assigned to work on                     immigration case with the attorneys, Michelle
        Doherty and Sarika Arya. At the time of writing this declaration,               removal
        proceedings are before the Board of Immigration Appeals (“BIA”).                   A
        number is A               .           is currently detained in immigration custody at the
        Buffalo Federal Detention Facility in Batavia, New York.
   3.                 immigration attorneys became aware that immigration officials violated 8
        C.F.R. §208.6 by sharing confidential information related to his asylum case with the
        Nassau County District Attorney’s Office in New York. The attorneys became aware of
        this unlawful disclosure after employees from the Nassau County District Attorney’s
        Office filed unredacted documents related to               asylum case, including the
        Immigration Judge’s decision, as exhibits in their written opposition to
        motion for post-conviction relief under New York Criminal Procedure Law (“NYCPL”)
        § 440.10(1)(h) (often referred to as a “440 motion”). These documents were not filed
        under seal.
   4.                 immigration attorneys asked me to inquire whether state court filings related
        to 440 motions or direct appeals are public records. I write this declaration to explain a
        phone conversation I had with a supervisor at the Nassau County District Court
        addressing whether 440 motions, direct appeals, and the related filings are public record.
   5. On Friday, September 15, 2023, I called the Nassau County District Court and spoke to
        the clerk named Theresa. Theresa then gave me the contact information of her supervisor,
        Valerie, to make sure I was given the correct information regarding my questions.
   6. I left a voicemail for the supervising clerk, Valerie, and she called me back the same day.
        I asked Valerie if a 440 motion and the exhibits attached to it were public record. She told
        me that anyone from the public can obtain the records as long as the records are not
        sealed. I asked how a member of the public would request these records. She said they
        would have to submit a written request to the court and then pay for them.



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